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                     EXHIBIT 1
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU
         DERSHAWN SIBBLES,

                                Plaintiff,

                        v.

         EQUIFAX INFORMATION SERVICES LLC;                        Index No.:
         EXPERIAN INFORMATION SOLUTIONS, INC.;
         TRANS UNION LLC; GOLDMAN SACHS                           SUMMONS
         BANKS USA; SOFI LENDING CORP.;
         TRUIST BANK, AS SUCCESSOR BY MERGER                      Basis of Venue
         TO SUNTRUST BANK d/b/a LIGHTSTREAM;                      Location of Plaintiff
         U.S. BANK NATIONAL ASSOCIATION, AS
         INDENTURE TRUSTEE FOR VCC 2020-MC1
         TRUST, and PENTAGON FEDERAL CREDIT
         UNION,

                                Defendants.

         TO THE ABOVE-NAMED DEFENDANTS:                        EQUIFAX INFORMATION SERVICES
                                                               LLC; EXPERIAN INFORMATION
                                                               SOLUTIONS, INC.; TRANS UNION LLC;
                                                               GOLDMAN SACHS BANKS USA; SOFI
                                                               LENDING CORP.;TRUIST BANK, AS
                                                               SUCCESSOR BY MERGER TO
                                                               SUNTRUST BANK d/b/a
                                                               LIGHTSTREAM; and U.S. BANK
                                                               NATIONAL ASSOCIATION, AS
                                                               INDENTURE TRUSTEE FOR VCC 2020-
                                                               MC1 TRUST, PENTAGON FEDERAL
                                                               CREDIT UNION

         YOU ARE HEREBY SUMMONED and required to serve upon plaintiff’s attorney at the
         address stated below, an answer to the attached complaint within twenty (20) days after the
         service of this summons, exclusive of the day of service, or within thirty (30) days after service
         is complete if this summons was not personally delivered to you within the State of New York;
         upon your failure to answer, judgment will be taken against you by default for the relief
         demanded in the complaint.




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          Dated: Nyack, New York
                 April 30, 2024
                                                        THE LAW OFFICES OF
          Defendants’ Addresses:                        ROBERT J. NAHOUM, P.C.
                                                        Attorneys for Plaintiff
          EQUIFAX INFORMATION
          SERVICES LLC
          C/O Corporation Service Company
          80 State Street, Albany, NY, 12207            By:________________________________
                                                               ROBERT J. NAHOUM, ESQ.
          EXPERIAN INFORMATION SOLUTIONS,               48 Burd Street, Suite 300
          INC.                                          Nyack, New York 10960
          C/O CT Corporation System                     (845) 450-2906
          28 Liberty St.,
          New York, NY, 10005

          TRANS UNION LLC
          C/O The Prentice-Hall Corporation System,
          Inc.,
          251 Little Falls Drive
          Wilmington, DE 19808

          GOLDMAN SACHS BANKS USA
          Attn: Head Of Litigation & Reg
          200 West Street
          New YorK, NY, , 10282


          SOFI LENDING CORP.
          C/O Corporation Service Company
          80 State Street, Albany, NY, 12207


          TRUIST BANK, AS SUCCESSOR BY
          MERGER TO SUNTRUST BANK d/b/a
          LIGHTSTREAM
          C/O Corporation Service Company
          80 State Street, Albany, NY, 12207

          U.S. BANK NATIONAL ASSOCIATION, AS
          INDENTURE TRUSTEE FOR VCC 2020-
          MC1 TRUST, PENTAGON FEDERAL
          CREDIT UNION
          425 Walnut St
          Cincinnati, OH 45202

          PENTAGON FEDERAL CREDIT UNION
          55 Water St.
          New York, NY 10041



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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU

         DERSHAWN SIBBLES,

                                Plaintiff,

                        v.

         EQUIFAX INFORMATION SERVICES LLC;
         EXPERIAN INFORMATION SOLUTIONS, INC.;
         TRANS UNION LLC; GOLDMAN SACHS                               Index No.:
         BANKS USA; SOFI LENDING CORP.;
         TRUIST BANK, AS SUCCESSOR BY MERGER
         TO SUNTRUST BANK d/b/a LIGHTSTREAM;
         U.S. BANK NATIONAL ASSOCIATION, AS
         INDENTURE TRUSTEE FOR VCC 2020-MC1
         TRUST, and PENTAGON FEDERAL CREDIT
         UNION,

                Defendants.
                                Defendants.

                                                    COMPLAINT

                Plaintiff Dershawn Sibbles (“Plaintiff”), by and through his attorneys, The Law Offices

         of Robert J. Nahoum, P.C., complaining of defendants, alleges as follows:

                1.      This is an action for actual, statutory, and punitive damages, injunctive relief, and

         statutory attorney’s fees brought pursuant to the Fair Credit Reporting Act, 15 U.S.C. § 1681, et

         seq. (“FCRA”), the New York Fair Credit Reporting Act, and New York General Business Law

         § 380, et seq. (“NY FCRA”).

                2.      Congress enshrined within the FCRA the “need to insure that consumer reporting

         agencies exercise their grave responsibilities with fairness, impartiality, and a respect for the

         consumer’s right to privacy.” 15 U.S.C. §1681(a)(4).

                3.      Congress stated plainly the purpose of the FCRA, namely “to require that

         consumer reporting agencies adopt reasonable procedures for meeting the needs of commerce for



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         consumer credit, personnel, insurance, and other information in a manner which is fair and

         equitable to the consumer, with regard to the confidentiality, accuracy, relevancy, and proper

         utilization of such information . . . .” 15 U.S.C. §1681(b).

                 4.      The defendants consist of three national credit reporting agencies: Equifax

         Information Services LLC (“Equifax”), Experian Information Solutions, Inc. (“Experian”), and

         Trans Union LLC (“Trans Union “ and together with Equifax and Experian the “CRA

         Defendants”); and five “furnisher[s] of information” to those agencies: Goldman Sachs Banks

         USA (“Goldman”), SoFi Lending Corp. (“SoFi”), Truist Bank, As Successor By Merger to

         Suntrust Bank d/b/a Lightstream (Truist”), U.S. Bank National Association, As Indenture

         Trustee For VCC 2020-MC1 Trust (“U.S. Bank”) and Pentagon Federal Credit Union (Pen

         Fed”) and collectively together with Goldman, Truist, SoFi and US Bank, the “Furnisher

         Defendants”).

                 5.      Plaintiff discovered inaccurate derogatory information on his credit reports and

          disputed the same directly with the CRA Defendants who, in turn and upon information and

          belief, communicated the same to the Furnisher Defendants.

                 6.      The Furnisher Defendants are each a “furnisher of information” within the

          meaning of the FCRA (15 U.S.C. § 1681s-2, et seq.).

                 7.      The Furnisher Defendants violated the FCRA by:

                         a. failing to conduct a reasonable investigation of Plaintiff’s dispute,

                         b. failing to review all relevant information provided by consumer reporting
                            agencies, and

                         c. failing to promptly modify, delete, or permanently block any information it
                            could not verify as accurate, in violation of 15 U.S.C. §1681s-2(b)(1).




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                 8.     The CRA Defendants violated the FCRA (and analogous provisions of the NY

         FCRA) by:

                        a. failing to conduct a reasonable reinvestigation of Plaintiff’s dispute and delete
                           or modify that information, in violation of § 1681i, and upon information and
                           belief, failing to perform certain other related duties pursuant to and in
                           violation of that same provision; and

                        b. failing to maintain procedures to ensure the maximum possible accuracy of
                           the information it reported about Plaintiff, in violation of § 1681e(b).

                 9.     As a direct and proximate result of the Defendants’ negligent and willful actions,

         conduct, and omissions including, upon information and belief, publishing inaccurate derogatory

         information to third-parties, Plaintiff suffered cognizable actual damages (both economic and

         non-economic) including but not limited to credit denials, and/or offers for credit at higher

         interest rates, damage to his reputation, emotional distress, embarrassment, aggravation, and

         frustration.

                 10.    Each Defendant’s willful violations of the FCRA entitles Plaintiff to an award of

         punitive damages.

                                                     PARTIES

                 11.    Plaintiff is a natural person and a citizen of Nassau County, New York.

                 12.    Plaintiff is an individual and “consumer” within the meaning of the FCRA, 15

         U.S.C. § 1681a(c), as well as the NY FCRA, NY GBL § 380-a(b).

                 13.    Equifax is a Georgia limited liability company, duly authorized and qualified to

         do business in the State of New York.

                 14.    Experian is an Ohio corporation, duly authorized and qualified to do business in

         the State of New York.




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                 15.     Trans Union is a Delaware limited liability company, duly authorized and

         qualified to do business in the State of New York.

                 16.     Equifax, Experian, and Trans Union are each a “consumer reporting agency”

         within the meaning of the FCRA (15 U.S.C. § 1681a(f)) and NY FCRA (G.B.L. § 380-a(e)).

                 17.     Goldman is a Delaware financial institution, duly authorized and qualified to do

         business in the State of New York.

                 18.     SoFi is a Delaware financial institution, duly authorized and qualified to do

         business in the State of New York.

                 19.     Truist Bank is a North Carolina financial institution, duly authorized and

         qualified to do business in the State of New York.

                 20.     US Bank is a Minnesota financial institution, duly authorized and qualified to do

         business in the State of New York.

                 21.     Pen Fed is a Virginia financial institution, duly authorized and qualified to do

         business in the State of New York.

                 22.     Goldman, SoFi, Truist, US Bank and Pen Fed are each a “furnisher of

         information” within the meaning of the FCRA, 15 U.S.C. § 1681s-2 et seq.

                                                       FACTS

                 23.     Despite requests to correct erroneous information contained in his credit files and

         appearing on his credit reports, Plaintiff has been damaged by the failure of the Furnishers and

         the CRA Defendants to correct information in his credit file and the appearance of erroneous

         tradelines on his credit reports.

                 24.     Plaintiff is the victim of a widespread identify theft scheme perpetrated by his

         father Mr. Derrick Fitzroy Sibbles (“Derrick Sibbles”). Specifically, Derrick Sibbles used




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         Plaintiff’s identity to apply for an open various credit accounts including accounts with the

         Furnisher Defendants (the “ID Theft Accounts”).




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         THE IDENTITY THEFT LAWSUITS

                25.     Some, but not all of the ID Theft Accounts resulted in lawsuits filed against

         Plaintiff. Discovery of these lawsuits was the first time Plaintiff became aware that his identity

         had been stolen and that credit accounts had been opened using his identity.


         Goldman

                26.     On November 11, 2021, Goldman filed suit against Plaintiff in the Supreme Court

         of the State of New York, Nassau County, under the caption Goldman Sachs Banks USA - v. -

         Dershawn Sibblies Index No.: 614412/2021 (the “Goldman Lawsuit”).

                27.     By written correspondence to Goldman’s Counsel, Plaintiff notified Goldman that

         the account which formed the basis of the Goldman Lawsuit was the result of identity theft and

         was therefore disputed.

                28.     Further, on or about October 13, 2022, through counsel, Plaintiff filed his answer

         to the complaint in the Goldman Lawsuit siting, among other things, identity theft as his defense.

                29.     The Goldman Lawsuit is still pending.

         SoFi

                30.     On May 25, 2021, Sofi filed suit against Plaintiff in the Supreme Court of the

         State of New York, Nassau County, under the caption SoFi LENDING CORP. - v. - Dershawn

         Sibblies Index No.: 608449/2021; (the “SoFi Lawsuit”).

                31.     On or about November 12, 2021, a default judgment was entered against Defenant

         on the SoFi Lawsuit (the “SoFi Default Judgment”)

                32.     By written correspondence to SoFi’s Counsel, Plaintiff notified SoFi that the

         account which formed the basis of the SoFi Lawsuit was the result of identity theft and was

         therefore disputed.



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                  33.      SoFi consequently agreed to vacate the SoFi Judgment and Dismiss the SoFi

         Lawsuit.

         Truist

                  34.      On November 12, 2021, Truist filed suit against Plaintiff in the Supreme Court of

         the State of New York, Nassau County, under the caption TRUIST BANK - v. - DERSHAWN

         SIBBLIES Index No.: 614300/2021 (the “Truist Lawsuit”).

                  35.      By written correspondence to Truist’s Counsel, Plaintiff notified Truist that the

         account which formed the basis of the Truist Lawsuit was the result of identity theft and was

         therefore disputed.

         US Bank

                  36.      On December 7, 2021, US Bank filed a foreclosure action, naming, among others,

         Plaintiff as a defendant in the Supreme Court of the State of New York, Kings County, under the

         caption U.S. BANK NATIONAL ASSOCIATION, AS INDENTURE TRUSTEE FOR VCC 2020-

         MC1 TRUST V. - v. - 775 EAST 37TH STREET VENTURES LLC; DERSHAWN SIBBLIES;

         JOHN DOE (SAID SUMMONS NAME BEING FICTITIOUS TO REPRESENT UNKNOWN

         TENANTS/OCCUPANTS OF THE SUBJECT PROPERTY AND ANY OTHER PARTY OR

         ENTITY OF ANY KIND, IF ANY, HAVING OR CLAIMING AN INTEREST OR LIEN UPON

         THE MORTGAGED PROPERTY), Index No.: 531162/2021 (the “US Bank Lawsuit 1”).

                  37.      By written correspondence to US Bank’s Counsel, Plaintiff notified US Bank that

          the account which formed the basis of the US Bank Lawsuit was the result of identity theft and

          was therefore disputed.



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            The Goldman Lawsuit, SOFI Lawsuit, Truist Lawsuit and US Bank Lawsuit may collectively be referred to as the
          “ID Theft Lawsuits” and the accounts which for the basis of the ID Theft Lawsuits may collectively be referred to as
          the “ID Theft Lawsuit Accounts”.


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                38.    The US Bank Lawsuit resulted in a Judgment of Sale entered on June 6, 2023.

         THE TRADELINE DISPUTES

                39.    Discovery of the ID Theft Lawsuits led Plaintiff to discover that the ID Theft

         Accounts has been reported on credit reports.


         Trans Union

                40.    Plaintiff discovered that his Trans Union credit report contained erroneous entries

         with respect to Goldman, SoFi, Truist and Pen Fed.

                41.    Specifically, tradelines on Plaintiff’s Trans Union credit report indicated that

         accounts with Goldman, SoFi, Truist and Pen Fed were past due.

                42.    Plaintiff has no authorized accounts with Goldman, SoFi, Truist or Pen Fed.

                43.    In or about January 2023, Plaintiff submitted a written dispute to Trans Union

         regarding the erroneous tradelines associated with Goldman, SoFi, Truist and Pen Fed.

                44.    In March 2023, Plaintiff received notice that Trans Union had “verified” the

         erroneous tradelines associated with Goldman, SoFi, Truist and Pen Fed and that the erroneous

         tradelines would remain on his Trans Union credit report.


         Equifax

                45.    Plaintiff discovered that his Equifax credit report contained erroneous entries with

         respect to Goldman, SoFi, and Truist.

                46.    Specifically, tradelines on Plaintiff’s Equifax credit report indicated that accounts

         with Goldman, SoFi, Truist and Pen Fed were past due.

                47.    Plaintiff has no authorized accounts with Goldman, SoFi, Truist or Pen Fed.

                48.    In or about January 2023, Plaintiff submitted a written dispute to Equifax

         regarding the erroneous tradelines associated with Goldman, SoFi, Truist and Pen Fed.


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                49.     In or about June 2023, Plaintiff received notice that Equifax had “verified” the

         erroneous tradelines associated with Goldman, SoFi, Truist and Pen Fed and that the erroneous

         tradelines would remain on his Equifax credit report.


         Experian

                50.     Plaintiff discovered that his Experian credit report contained erroneous entries

         with respect to Goldman, SoFi, Truist and Pen Fed.

                51.     Specifically, tradelines on Plaintiff’s Experian credit report indicated that

         accounts with Goldman, SoFi, Truist and Pen Fed were past due.

                52.     Plaintiff has no authorized accounts with Goldman, SoFi, Truist or Pen Fed.

                53.     In or about January 2023, Plaintiff submitted a written dispute to Experian

         regarding the erroneous tradelines associated with Goldman, SoFi, Truist and Pen Fed.

                54.     In or about March 2023, Plaintiff received notice that Equifax had “verified” the

         erroneous tradelines associated with Goldman, SoFi, Truist and Pen Fed and that the erroneous

         tradelines would remain on his Equifax credit report.

         DAMAGES

                55.     As a result of Defendants’ conduct, Plaintiff suffered actual damages in the form

         of economic and non-economic harm, both of which are cognizable pursuant to the FCRA and

         NY FCRA.

                56.     Plaintiff has suffered actual damages in the form of financial harm and dignitary

         harm arising from the injury to his credit rating and reputation. Plaintiff will continue to suffer

         the same for an indefinite time in the future, all to Plaintiff’s great detriment and loss.

                57.     Plaintiff’s credit reports and file have been obtained from Defendants and been

         reviewed many times by prospective and existing credit grantors and extenders of credit. The



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         inaccurate information has been a substantial factor in precluding Plaintiff from receiving many

         different credit offers and opportunities, known and unknown, and from receiving the most

         favorable terms in financing and interest rates for credit offers that were ultimately made.

                 58.      Additionally, the inaccurate credit reporting cost Plaintiff significant time in

         pursuit of a corrected report, mental anguish, anxiety, and stress.

                                            FIRST CAUSE OF ACTION
                                       VIOLATIONS OF FCRA § 1681s-2(b)
                         (Against All Furnisher Defendants Furnishers of Information to CRAs)

                 59.      Plaintiff realleges and incorporates each of the above allegations as if fully set

         forth herein.

                 60.      The Furnisher Defendants violated §1681s-2(b) by its acts and omissions,

         including, but not limited to:

                       a. failing to conduct a reasonable investigation of Plaintiff’s dispute,

                       b. failing to review all relevant information provided by consumer reporting

                          agencies, and,

                       c. failing to promptly modify, delete, or permanently block any information it could

                          not verify as accurate, in violation of §1681s-2(b)(1).

                 61.      As a result of the Furnisher Defendants’ violations of §1681s-2(b)(1), Plaintiff

         suffered actual damages including but not limited to loss of credit, damage to reputation,

         embarrassment, humiliation, anguish and other emotional harm cognizable pursuant to the

         FCRA.

                 62.      These violations of §1681s-2(b)(1) were willful, rendering the Furnisher

         Defendants liable for actual damages, statutory damages, costs and reasonable attorney’s fees,

         and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n.




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                63.      In the alternative, the Furnisher Defendants were negligent, entitling Plaintiff to

         recover actual damages, costs, and reasonable attorney’s fees pursuant to 15 U.S.C. §1681o.

                                      SECOND CAUSE OF ACTION
                                 VIOLATIONS OF FCRA § 1681e(b) and § 1681i
                                        (Against All CRA Defendants)

                64.      Plaintiff realleges and incorporates each of the above allegations as if fully set

         forth herein.

                65.      The CRA Defendants each violated multiple sections of 15 U.S.C. § 1681i by its

         acts and omissions including but not limited to:

                      a. failing to conduct a reasonable reinvestigation to determine whether the disputed

                          information is inaccurate and record the current status of the disputed

                          information or delete the item from Plaintiff’s credit file in violation of §

                          1681i(a)(1);

                      b. by failing to review and consider all relevant information submitted by Plaintiff

                          in violation of § 1681i(a)(4); and

                      c. by failing to properly delete the disputed inaccurate items of information from

                          Plaintiff’s credit files or modify item of information upon a lawful

                          reinvestigation in violation of § 1681i(a)(5).

                66.      Each of the CRA Defendants violated 15 U.S.C. § 1681e(b) by their conduct, acts

         and omissions including but not limited to failing to establish and/or to follow reasonable

         procedures to assure maximum possible accuracy of the information concerning Plaintiff in the

         preparation of his credit reports and credit files that they published and maintained.

                67.      As a result of the CRA Defendants’ violations of § 1681i and §1681e(b), Plaintiff

         suffered actual damages including but not limited to: loss of credit, damage to reputation,




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         embarrassment, humiliation, anguish and other emotional harm cognizable pursuant to the

         FCRA.

                  68.     These violations of § 1681i and § 1681e(b) were willful, rendering the CRA

         Defendants liable for actual damages, statutory damages, costs and reasonable attorney’s fees,

         and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §

         1681n.

                  69.     In the alternative, the CRA Defendants were negligent, entitling Plaintiff to

         recover actual damages, costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1681o.

                                             THIRD CAUSE OF ACTION
                                   VIOLATIONS OF NY FCRA §380-f and §380-j
                                              (Against All CRA Defendants)
                  70.     Plaintiff realleges and incorporates each of the above allegations as if fully set

         forth herein.

                  71.     Each of the CRA Defendants violated multiple sections of the NY FCRA (NY

         GBL §§ 380–380-u) by their acts and omissions including:

                        a. failing to promptly reinvestigate Plaintiff’s dispute to determine whether the

                           disputed information is inaccurate and record the current status of the disputed

                           information in violation of § 380-f(a);

                        b. failing, after determining that the disputed information is in error or that it can no

                           longer be verified, to promptly expunge the item and otherwise correct the file

                           and refrain from reporting the item in subsequent consumer reports, in violation

                           of § 380-f(b); and

                        c. failing to establish and/or to follow reasonable procedures to assure maximum

                           possible accuracy of the information concerning Plaintiff in the preparation of




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                         his credit report and credit files that it published and maintained in violation of §

                         380-j(e).

                72.     These violations of § 380-f and § 380-j(e) were willful, rendering the CRA

         Defendants liable for actual damages, costs and reasonable attorney’s fees, and punitive damages

         in an amount to be determined by the Court pursuant to § 380-l and entitling Plaintiff to

         injunctive relief restraining Defendants from any further violations of Plaintiff’s rights pursuant

         to the NY FCRA.

                73.     In the alternative, the CRA Defendants were negligent, entitling Plaintiff to

         recover actual damages and costs and reasonable attorney’s fees pursuant to § 380-m as well as

         injunctive relief restraining Defendants from any further violations of Plaintiff’s rights pursuant

         to the NY FCRA.

                WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in his favor

         and grant the following relief:

                A. On the First Cause of Action:
                      Awarding Plaintiff against each CRA Defendant and Furnisher Defendant actual
                      damages, statutory damages, punitive damages, costs and reasonable attorney’s
                      fees pursuant to 15 U.S.C. § 1681n and § 1681o as well as, with regard to the
                      CRA Defendants, NY GBL § 380-l and § 380-m;

                B. On the Second Cause of Action:
                      Ordering the CRA Defendants:
                                a.         to immediately delete all inaccurate information from Plaintiff’s
                                           credit reports and files and cease reporting the inaccurate
                                           information to any and all persons and entities to whom they report
                                           consumer credit information, and
                                b.         to send updated and corrected credit report information to all
                                           persons and entities to whom they have reported inaccurate
                                           information about Plaintiff within the last four years;

                C. On the Third Cause of Action:




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                         Enjoining the CRA Defendants from violating Plaintiff’s NY FCRA rights;

                 D. Any additional and further relief as may be deemed just and appropriate.


                                          DEMAND FOR JURY TRIAL

                  Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury as to all

          issues so triable.


         Dated: Nyack, New York
                April 30, 2024
                                                               THE LAW OFFICES OF
                                                               ROBERT J. NAHOUM, P.C.
                                                               Attorneys for Plaintiff


                                                               By:__________________________
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       NYSCEF                                   Document List
       Nassau County Supreme Court             Index # 607470/2024         Created on:06/27/2024 02:32 PM

Case Caption:   DERSHAWN SIBBLES v. EQUIFAX INFORMATION SERVICES LLC et al
Judge Name:
Doc#     Document Type/Information                      Status       Date Received      Filed By
1        SUMMONS + COMPLAINT - *Corrected*              Processed    04/30/2024         Nahoum, R.

2        NOTICE OF DISCONTINUANCE (PRE RJI)             Processed    06/25/2024         Nahoum, R.
         As to Pentagon Federal Credit Union Only




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FILED: NASSAU COUNTY CLERK 06/25/2024 01:53 PM                                               INDEX NO. 607470/2024
NYSCEF DOC. NO. 2                                                                     RECEIVED NYSCEF: 06/25/2024




            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF NASSAU

            DERSHAWN SIBBLES,

                                   Plaintiff,

                           v.

            EQUIFAX INFORMATION SERVICES LLC;                           Index No.: 607470/2024
            EXPERIAN INFORMATION SOLUTIONS, INC.;
                                                                        NOTICE OF VOLUNTARY
            TRANS UNION LLC; GOLDMAN SACHS
                                                                        DISCONTINUANCE AS TO
            BANKS USA; SOFI LENDING CORP.;
                                                                        DEFENDANT PENTAGON
            TRUIST BANK, AS SUCCESSOR BY MERGER
                                                                        FEDERAL CREDIT UNION
            TO SUNTRUST BANK d/b/a LIGHTSTREAM;
            U.S. BANK NATIONAL ASSOCIATION, AS
            INDENTURE TRUSTEE FOR VCC 2020-MC1
            TRUST, and PENTAGON FEDERAL CREDIT
            UNION,

                    Defendants.
                                   Defendants.

                    I, Robert J. Nahoum, counsel for Plaintiff, Dershawn Sibbles (“Plaintiff”), hereby

            affirm that the above-entitled action, be and the same is, hereby discontinued as against

            defendant Pentagon Federal Credit Union only, with prejudice, and without costs to any

            party and this notice may be filed with the Clerk of the Court without further notice.

            Dated: Nyack, New York
                   June 25, 2024

                                                          THE LAW OFFICES OF
                                                          ROBERT J. NAHOUM, P.C.
                                                          Attorneys for Plaintiff


                                                          By:________________________________
                                                                 ROBERT J. NAHOUM, ESQ.
                                                          48 Burd Street, Suite 300
                                                          Nyack, New York 10960
                                                          (845) 450-2906




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


DERSHAWN SIBBLES,                               (To be Removed from the Supreme Court of
                                                the State of New York, Nassau County, Index
                      Plaintiff,                No. 607470/2024)

              v.

EQUIFAX INFORMATION SERVICES LLC;                   JOINDER IN AND CONSENT TO
EXPERIAN INFORMATION SOLUTIONS,                           REMOVAL OF
INC.; TRANS UNION LLC; GOLDMAN                      DEFENDANT TRANS UNION LLC
SACHS BANKS USA; SOFI LENDING
CORP.; TRUIST BANK, AS SUCCESSOR BY
MERGER TO SUNTRUST BANK d/b/a
LIGHTSTREAM; U.S. BANK NATIONAL
ASSOCIATION, AS INDENTURE TRUSTEE
FOR VCC 2020-MC1 TRUST, and
PENTAGON FEDERAL CREDIT UNION,

              Defendants.



       Without waiving any of its defenses or any other rights, Defendant Trans Union LLC
(“Trans Union”), hereby consents to the notice of removal of this action from the Supreme Court
of the State of New York, Nassau County, to the United States District Court for the Eastern
District of New York. Removal is proper for the reasons stated in Defendant Truist Bank, as
Successor by Merger to Suntrust Bank d/b/a Lightstream’s (“Truist”) Notice of Removal.
       Trans Union was served the Summons and Complaint, the initial pleading setting forth the
claim for relief upon which this action is based, on May 29, 2024. Trans Union’s consent to
Truist’s Notice of Removal is timely.


 Dated: June 20, 2024                            /s/: Warren F. Cangany______
                                                 Warren F. Cangany
                                                 Authorized Representative
                                                 Trans Union
                                                 555 W. Adams Street
                                                 Chicago, Illinois 60661
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


DERSHAWN SIBBLES,                               Civil Action No.:

                      Plaintiff,                (Removed from the Supreme Court of the State
                                                of New York, Nassau County, Index No.
              v.                                607470/2024)

EQUIFAX INFORMATION SERVICES LLC;
EXPERIAN INFORMATION SOLUTIONS,
INC.; TRANS UNION LLC; GOLDMAN                     JOINDER IN AND CONSENT TO
SACHS BANKS USA; SOFI LENDING                            REMOVAL OF
CORP.; TRUIST BANK, AS SUCCESSOR BY               DEFENDANT SOFI LENDING CORP.
MERGER TO SUNTRUST BANK d/b/a
LIGHTSTREAM; U.S. BANK NATIONAL
ASSOCIATION, AS INDENTURE TRUSTEE
FOR VCC 2020-MC1 TRUST, and
PENTAGON FEDERAL CREDIT UNION,

              Defendants.



       Without waiving any of its defenses or any other rights, Defendant So)i Lending
Corp. (“SoFi”), hereby consents to the notice of removal of this action from the Supreme Court
of the State of New York, Nassau County, to the United States District Court for the Eastern
District of New York. Removal is proper for the reasons stated in Defendant Truist Bank, as
Successor by Merger to Suntrust Bank d/b/a Lightstream’s (“Truist”) Notice of Removal.
       SoFi was served with the Summons and Complaint via the New York Department of State
on June 10, 2024. SoFi’s consent to Truist’s Notice of Removal is timely.


 Dated: June 27, 2024                             ____________________________
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                                                  Attorneys for SoFi Lending Corp.
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


DERSHAWN SIBBLES,                               Civil Action No.:

                      Plaintiff,                (Removed from the Supreme Court of the State
                                                of New York, Nassau County, Index No.
              v.                                607470/2024)

EQUIFAX INFORMATION SERVICES LLC;
EXPERIAN INFORMATION SOLUTIONS,
INC.; TRANS UNION LLC; GOLDMAN                      JOINDER IN AND CONSENT TO
SACHS BANKS USA; SOFI LENDING                              REMOVAL OF
CORP.; TRUIST BANK, AS SUCCESSOR BY                DEFENDANT U.S. BANK NATIONAL
MERGER TO SUNTRUST BANK d/b/a                       ASSOCIATION, AS INDENTURE
LIGHTSTREAM; U.S. BANK NATIONAL                   TRUSTEE FOR VCC 2020-MC1 TRUST
ASSOCIATION, AS INDENTURE TRUSTEE
FOR VCC 2020-MC1 TRUST, and
PENTAGON FEDERAL CREDIT UNION,

              Defendants.



       Without waiving any of its defenses or any other rights, Defendant U.S. Bank National
Association, as Indenture Trustee for VCC 2020-MC1 Trust (“U.S. Bank”), hereby consents to the
notice of removal of this action from the Supreme Court of the State of New York, Nassau County,
to the United States District Court for the Eastern District of New York. Removal is proper for
the reasons stated in Defendant Truist Bank, as Successor by Merger to Suntrust Bank d/b/a
Lightstream’s (“Truist”) Notice of Removal.
       U.S. Bank was served with the Summons and Complaint via the New York Department of
State on June 10, 2024. U.S. Bank’s consent to Truist’s Notice of Removal is timely.


 Dated: June 27, 2024                             /s/ Andrew Kamensky__________________
                                                  Andrew Kamensky, NY Bar No. 4963757
                                                  McMichael Taylor Gray, LLC
                                                  28 Corporate Drive, Suite 104
                                                  Halfmoon, NY 12065
                                                  Attorneys for U.S. Bank National Association,
                                                  as Indenture Trustee for VCC 2020-MC1 Trust
